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The Myth of “Reliable Research” in Pediatric
Gender Medicine: A critical evaluation of the Dutch
Studies—and research that has followed

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 Article Commentary

 The Myth of “Reliable Research” in Pediatric Gender
 Medicine: A critical evaluation of the Dutch Studies—and
 research that has followed
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     ABSTRACT
     Two Dutch studies formed the foundation and the best available evidence
     for the practice of youth medical gender transition. We demonstrate that
     this work is methodologically flawed and should have never been used in
     medical settings as justification to scale this “innovative clinical practice.”
     Three methodological biases undermine the research: (1) subject selection
     assured that only the most successful cases were included in the results;
     (2) the finding that “resolution of gender dysphoria” was due to the reversal
     of the questionnaire employed; (3) concomitant psychotherapy made it
     impossible to separate the effects of this intervention from those of hor-
     mones and surgery. We discuss the significant risk of harm that the Dutch
     research exposed, as well as the lack of applicability of the Dutch protocol
     to the currently escalating incidence of adolescent-onset, non-binary, psy-
     chiatrically challenged youth, who are preponderantly natal females. "Spin"
     problems—the tendency to present weak or negative results as certain and
     positive—continue to plague reports that originate from clinics that are
     actively administering hormonal and surgical interventions to youth. It is
     time for gender medicine to pay attention to the published objective
     systematic reviews and to the outcome uncertainties and definable potential
     harms to these vulnerable youth.




 Introduction
 In our recent paper on informed consent for youth gender transition, we recognized a serious
 problem: the field has a penchant for exaggerating what is known about the benefits of the
 practice, while downplaying the serious health risks and uncertainties (Levine et al., 2022a). As
 a result, a false narrative has taken root. It is that “gender-affirming” medical and surgical
 interventions for youth are as benign as aspirin, as well-studied as penicillin and statins, and
 as essential to survival as insulin for childhood diabetes—and that the vigorous scientific debate
 currently underway is merely “science denialism” motivated by ignorance, religious zeal, and
 transphobia (Drescher et al., 2022; McNamara et al., 2022; Turban, 2022). This highly politicized
 and fallacious narrative, crafted and promoted by clinician-advocates, has failed to withstand
 scientific scrutiny internationally, with public health authorities in Sweden, Finland, and most
 recently England doing a U-turn on pediatric gender transitions in the last 24 months (COHERE
 (Council for Choices in Health Care), 2020; Socialstyrelsen [National Board of Health and
 Welfare], 2022; National Health Service (NHS), 2022a). In the U.S., however, medical

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 organizations so far have chosen to use their eminence to shield the practice of pediatric “gender
 affirmation” from scrutiny. In response to mounting legal challenges, these organizations have
 been exerting their considerable influence to insist the science is settled (American Medical
 Association (AMA), 2022). We argued that this stance stifles scientific debate, threatens the
 integrity and validity of the informed consent process—and ultimately, hurts the very patients
 it aims to protect.
     To demonstrate problems in existing research, we discussed two seminal studies that gave
 rise to the now-common practice of performing gender transitions on young people by giving
 them puberty blockers, cross-sex hormones, and “gender-affirming” surgery (de Vries et al., 2011;
 de Vries et al., 2014). We argued that these Dutch studies suffer from such profound limitations
 that they should never have been used as justification for propelling these interventions into
 general medical practice. We called for rigorous clinical research into the interventions known
 as “gender-affirming” care before these interventions are further scaled. Until such research is
 available, we urged clinicians to disclose the profound uncertainties regarding the outcomes of
 this treatment pathway to enable patients and families to make better-informed decisions about
 their care.
     Our assertions drew a response from the first author of these Dutch studies (de Vries, 2022).1
 de Vries dismissed much of our criticism as a mere “misunderstanding” of their gender clinic’s
 process. While de Vries acknowledged some of the limitations in the Dutch research, she asserted
 that these gaps have since been sufficiently remedied by subsequent research from others in the
 field, rendering the practice of pediatric gender transition as proven beneficial, and ready to be
 widely scaled in general medical practice.
     Having carefully examined de Vries’ counterarguments, we failed to find a single instance
 where our “misunderstanding” could explain away the significant problems that we pointed
 out. In this article, we justify our position that neither the Dutch research, nor the research
 that followed, is fit for shaping policy or treatment decisions regarding gender dysphoric
 youth at the population level. We present our response to de Vries in three sections. First,
 we provide a more complete justification for our assertions of the significant flaws in the
 foundational Dutch research. Second, we demonstrate that the claims that subsequent research
 remedied the deficiencies in the prior research are untrue. Third, we provide recommendations
 for research structure to yield reliable, trustworthy information. We conclude with the sense
 of urgency to avoid future harms by reminding readers of the intrinsic value of high-quality
 science.
     Before we embark on outlining the critical methodological limitations of the Dutch research,
 we would like to make it clear that it is not our intention to discredit the Dutch clinicians’ past
 work. The quality of the Dutch studies, while unacceptably low by today’s standards, is com-
 mensurate with clinical and research practices in the 1990s. The key problem in pediatric gender
 medicine is not the lack of research rigor in the past—it is the field’s present-day denial of the
 profound problems in the existing research, and an unwillingness to engage in high quality
 research requisite in evidence-based medicine.

 Evidence-based medicine vs empirical-based medicine
 When the Dutch clinicians launched the practice of pediatric gender transition, it was not
 uncommon for medical professionals to practice medicine based on “empirical evidence,” relying
 on expert opinion and often backed by only minimal research (Drisko & Friedman, 2019). The
 term “evidence-based medicine” and its focus on quality comparative clinical research to deter-
 mine optimal treatment only emerged in the 1990s (Guyatt, 1993). The Dutch researchers began
 to medically transition gender dysphoric adolescents in the late 1980s–early 1990s—just as
 medicine was starting to undergo this major paradigm shift.
    Examining the Dutch research from today’s vantage point, their gender-transitioning of youth
 is most consistent with the “innovative practice” framework. This framework allows clinicians
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 to implement untested but promising interventions for a condition which, if left untreated, might
 have dire outcomes; when existing treatment options seem ineffective; and when the number of
 affected patients is small (Brierley & Larcher, 2009; Earl, 2019). The number of adolescents
 suffering from gender dysphoria in the 1990s was exceedingly small. Evidence was starting to
 demonstrate that gender reassignment undertaken in adulthood failed to resolve trans people’s
 mental health problems (Cohen-Kettenis & Van Goozen, 1997). The Dutch clinicians hoped that
 the “less positive results among adults” (p. 266) would be remedied with early adolescent gender
 transition. In this context, the methodological deficiencies in the foundational Dutch research
 ought not to be viewed as a failure. It was never their goal to generate reliable reproducible
 research. In fact, the many irregularities, which we elucidate below, reflect the Dutch success at
 rapidly evolving their approaches to reach a point of technical excellence: convincing physical
 transformations of adolescent bodies that satisfied the young patients (Biggs, 2022). These cli-
 nicians were “flying the plane while building the plane,” and their published research merely
 reflects this messy clinical reality.
     The “innovative practice” model of care is a double-edged sword. On the one hand, it rapidly
 advances the medical field. On the other hand, it is capable of hurting individuals and societies
 by promoting a nonbeneficial or harmful intervention. For these reasons, it is an ethical require-
 ment that as soon as viability of a new intervention is demonstrated under the “innovative
 practice” framework, the research must move into high-quality clinical research settings capable
 of demonstrating that the benefits outweigh the risks. This step is imperative because it prevents
 “runaway diffusion”—the phenomenon whereby the medical community mistakes a small inno-
 vative experiment as a proven practice, and a potentially nonbeneficial or harmful practice
 “escapes the lab,” rapidly spreading into general clinical settings (Earl, 2019).
     “Runaway diffusion” is exactly what has happened in pediatric gender medicine. “Affirmative
 treatment” with hormones and surgery rapidly entered general clinical practice worldwide, without
 the necessary rigorous clinical research to confirm the hypothesized robust and lasting psycho-
 logical benefits of the practice. Nor was it ever demonstrated that the benefits were substantial
 enough to outweigh the burden of lifelong dependence on medical interventions, infertility and
 sterility, and various physical health risks. The studies also failed to quantify the risk to “false
 positives”—that is, those gender dysphoric youth whose distress would have remitted with time
 without resorting to irreversible medical and surgical interventions.
     The speed of the “runaway diffusion” accelerated exponentially when pediatric gender dys-
 phoria/transgender identity went from a relatively rare phenomenon before 2015, to one that
 impacts as many as 1 in 10–20 young people in the Western world (American College Health
 Association [ACHA], 2022; Johns et al., 2019; Kidd et al. 2021). The current politicization of
 transgender healthcare has provided further fuel to the rapid proliferation of youth gender
 reassignment. A proposal by the U.S. government to mandate healthcare entities to provide
 “gender-affirming” interventions to minors, or risk claims of “discrimination” and loss of federal
 healthcare funding is yet another example of “runaway diffusion” (Health and Human Services
 [HHS], 2022; Keith, 2022).
     The difficult task of reversing runaway diffusion begins with a systematic review of evidence,
 follows with updating treatment guidelines, and culminates with de-implementation of unproven
 or harmful practices, known as “practice reversals” (Herrera-Perez et al., 2019; Prasad, 2011; Prasad
 & Ioannidis, 2014). Systematic reviews of evidence play a uniquely important role in this process.
 Rather than arbitrarily selecting studies and simply restating their results and conclusions, systematic
 reviews of evidence analyze all of the available evidence meeting pre-specified criteria and scrutinize
 the studies for methodological bias and errors, issuing an overarching conclusion about what’s
 known about the effects of an intervention based on the totality of the evidence (Higgins et al.,
 2022). A “practice reversal” of pediatric gender transitions has already begun. Several recent inter-
 national systematic reviews of evidence have concluded that the practice of pediatric gender
 transition rests on low to very low quality evidence—meaning that the benefits reported by the
 existing studies are unlikely to be true due to profound problems in the study designs (National
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 Institute for Health and Care Excellence (NICE), 2020a, 2020b; Pasternack et al., 2019; SBU (Swedish
 Agency for Health Technology Assessment and Assessment of Social Services), 2022). Following
 these systematic reviews of evidence, three European countries—Sweden, Finland and England—
 have begun to articulate new and much more cautious treatment guidelines for gender dysphoric
 youth, which prioritize noninvasive psychosocial interventions while sharply restricting the provision
 of hormones and surgery (COHERE (Council for Choices in Health Care), 2020; Socialstyrelsen
 [National Board of Health and Welfare], 2022; NHS, 2022a).
    Paradoxically, this international reckoning has had almost no influence on the U.S. gender
 medicine establishment. When Florida’s Medical Board, following an overview of existing sys-
 tematic reviews (Brignardello-Peterson & Wiercioch, 2022), took on the question of regulating
 pediatric gender medicine and invited the proponents of pediatric gender transitions to reconcile
 their stance with the recent European developments, these clinician advocates were either unaware
 of the European changes, or minimized their extent and significance (Janssen, 2022 00:46:43;
 McNamara, 2022 01:45:27). More generally, when faced with questions about the rapidly growing
 numbers of youth subjected to highly invasive and often irreversible interventions based on low
 to very low quality evidence, the field of U.S. pediatric gender medicine has chosen to throw its
 weight behind two indefensible and contradictory claims: (1) that “low quality evidence” is a
 misleading technical term which actually describes high quality reliable research; and (2) that
 true high quality research can only come from randomized controlled trials, which are unat-
 tainable and unethical (Drescher, 2022; McNamara et al., 2022). We refuted these misleading
 claims in our recent publication (Levine et al., 2022b).
    As we begin our discussion of the profound limitations in the two foundational Dutch studies
 that have propelled the practice of pediatric gender transition into mainstream clinical practice
 worldwide, we are aware that we are mounting a serious challenge to the research that has been
 viewed by many as the “gold standard” in the field. Questioning this assumption, we welcome
 further debate. A quote from philosopher Karl Popper, perceptively invoked by Balon (2022), is
 particularly apt: “the growth of knowledge depends entirely on disagreement.”


 I. The “Dutch studies” are deeply flawed
 There is no argument that the Dutch experience, and in particular two Dutch studies—de Vries
 et al. (2011), and de Vries et al. (2014)—forms the foundation of the practice of youth gender
 transition. It is evident when examining prevailing treatment guidelines. The Endocrine Society’s
 statements regarding the potential benefits of puberty blockers and cross-sex hormones in gender
 dysphoric adolescents are supported only by references to these two studies (Hembree et al.,
 2017, p. 12, p. 16). Similarly, the World Professional Association for Transgender Health (WPATH)
 “Standards of Care” guidelines version 7 (SOC 7)—the version under which the practice of
 medicalization of gender dysphoric youth became widespread—only references the Dutch expe-
 rience (Coleman et al., 2012). Despite several newer studies available, the proponents of gender
 affirmation still correctly emphasize that “the best longitudinal data we have on transgender
 youth comes primarily out of the Dutch clinic…the Dutch studies in the Dutch model of care.
 That’s the prevailing model that most of the American clinics have based their care upon”
 (Janssen, 2022, 00:47:42). de Vries in her response to us, also agrees with this: “…indeed, as of
 today, the Dutch papers, and especially the de Vries et al., 2014 study, are still used as main
 evidence for provision of early medical intervention including puberty blockers in transgender
 youth (de Vries et al., 2014)” (de Vries, 2022, p. 2).
    The two main Dutch studies in question, de Vries et al., 2011, and de Vries et al., 2014 (from
 here on, “the Dutch studies”) convincingly demonstrated that hormonal and surgical interventions
 can successfully change the phenotypical appearance of secondary sex characteristics of adoles-
 cents and young adults. What the studies failed to show, however, is that these physical changes
 resulted in meaningful psychological improvements significant enough to justify the adverse
 effects of the treatment—including the certainty of sterility.
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    Besides the lack of control group and a small final sample of 55 cases, with key outcomes
 available for as few as 32 individuals, there are three major areas of concern that render these
 studies unfit for clinical or policy decision-making.

    A. High risk of bias: The Dutch studies suffer from multiple sources of bias which under-
       mine confidence into the reported “benefits.” The subject selection assured that only the
       most successful cases at each treatment stage were included in reported results. The
       linchpin finding of “resolution of gender dysphoria” is entirely invalid, since the home-
       grown gender dysphoria scale and its scoring mechanism were reversed after treatment,
       essentially guaranteeing a significant post-surgical drop in “gender dysphoria” scores. The
       finding of modest psychological benefits was compromised by the conflation of medical
       interventions with psychotherapy, making it impossible to determine whether gender
       reassignment, therapy, or the psychological maturation that occurs with the passage of
       time led to these few modest “improvements.”
    B. Incompleteness of evidence regarding physical health risks: The Dutch studies did not
       evaluate physical health outcomes of “gender-affirmative” treatments, even though adverse
       effects of hormonal interventions on bone and brain had been hypothesized from the
       start (and were confirmed by subsequent research). Even without setting out to assess
       the risks, the Dutch research inadvertently revealed that the rate of short-term morbidity
       and mortality associated with “gender-affirming” interventions may be as high as 6%-7%.
    C. Poor generalizability/applicability to current cases: Today, most youth suffer from
       post-pubertal onset of gender dysphoria and significant mental illness—two clinical pre-
       sentations the Dutch explicitly disqualified from their studies. As such, none of the Dutch
       findings are applicable to most of the youth seeking treatment today.

    de Vries (2022) disputed only our assertion that the studies suffer from high risk of bias and
 therefore their findings of benefits are unreliable. She did not comment on our arguments that the
 research failed to assess physical health risks and were not generalizable to the majority of currently
 presenting cases. It is unclear if this silence indicates agreement or disagreement. Below, we address
 each of our points in greater detail, concluding with an additional observation about the overall
 lack of equipoise—genuine uncertainty about which treatment options are superior (London, 2017),
 which limits the utility of the Dutch research beyond describing a small-scale “innovative practice.”

 A. High risk of bias in the Dutch research
 de Vries rejected our assertion that the Dutch findings suffer from a high risk of bias and
 insisted that we mistook the study protocol’s careful process of establishing study eligibility for
 “bias.” To clarify, we use the term “risk of bias” in a strict methodological sense. It refers to a
 systematic error, or deviation from the “truth” in study results (Boutron et al., 2022; Socialstyrelsen
 [National Board of Health and Welfare], 2022). Observational research conducted in the context
 of ongoing clinical care is often subject to risk of bias (Nguyen et al., 2021), which is one of
 the main reasons why rigorous clinical research using robust research designs must follow. In
 the case of the Dutch studies, we identified three major sources of bias, or systematic error,
 involving: (1) case selection; (2) measurement of outcomes, and (3) confounding.


 1. Bias in case selection: Only the “best-case scenario” cases made it into the Dutch studies’
 “completers”
 Because of an unusual case selection and reporting methodology, the Dutch studies inadvertently
 reported on only their best-case outcomes at each of the three phases of treatment (puberty
 blockers, cross-sex hormones, and surgery)—while failing to report the outcomes of the less
 positively affected, or even harmed, cases. de Vries disagreed with this assertion, continuing to
 insist that “participation was based on consecutive referral” (de Vries, 2022, p. 4).
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    Below, we present evidence that the claim of consecutive referral-based prospective case selec-
 tion is not technically accurate. The actual case selection for the original sample of 70
 puberty-blocked cases (de Vries et al., 2011) was retrospective and inadvertently biased toward
 including cases with favorable outcomes. The outcome reporting methodology in the second
 and final Dutch study (de Vries et al., 2014), which evaluated the final outcomes post-surgery,
 further biased the results toward reporting on the most favorable cases.

 de Vries et al., 2011 (“puberty blocker” study). The 70 cases comprising the entire sample for
 the “puberty blocker” study (de Vries et al., 2011) were retrospectively, non-randomly selected
 from a larger group of consecutively referred 111 cases. According to both the original study,
 and de Vries’ response to us, to participate in the “puberty blocker” study, a study subject already
 had to be starting the next phase of treatment with cross-sex hormones:
     Of the 196 consecutively referred adolescents…111 (those below age 16) had started puberty suppression…
     In the 2011 study we evaluated the first 70 of those 111 who were about to start with the next step of
     their treatment, affirming hormones, around the age of 16 years. (de Vries, 2022, p. 4)2

     Using the start date of the next phase of treatment (cross-sex hormones) as the defining inclusion
 criterion for the study of the prior phase of the treatment (puberty blockers) introduced serious bias.
     First, had any of the original 111 study subjects been harmed by puberty blockers or chosen
 to stop the treatment, they would never have advanced to the next phase, and thus, they had
 no chance of being included in the puberty blocker study, skewing the sample. Second, since
 the Dutch considered the puberty suppression phase both a treatment and a diagnostic phase
 (Cohen-Kettenis & van Goozen, 1998), the more complex cases may have remained in the
 puberty blocked phase longer. As de Vries’ predecessors explained, subjects for whom the psy-
 chotherapist or parents had doubts, or where “the personal situation of the youngster” was more
 complicated, were delayed from starting cross-sex hormone treatment, which was the first stage
 the Dutch researchers considered to have an “irreversible” effect (Gooren & Delemarre-van de
 Waal, 1996, p. 11). This would further skew “the first 70 of those 111 who were about to start
 with the next step of their treatment, affirming hormones” (de Vries, 2022, p. 4)—the entire
 puberty blocker study sample—toward the most clinically straightforward and stable cases.
     Third, such an unusual case selection methodology may have skewed the sample toward an
 older age than was stipulated by the protocol. Since to be eligible for the “puberty blocker”
 study, a subject had to have been deemed ready to start the next phase of cross-sex hormones,
 which required a minimum age of 16 (accroding to the Dutch protocol version published in
 2012, de Vries, 2012), all else being equal, older subjects had a greater chance of being included
 than younger ones. This may explain why the sample of 70 selected subjects was on average,
 age 15 when started on puberty blockers rather than age 12 as outlined by the protocol, which
 introduced another source of systematic error, by biasing the sample toward subjects with greater
 physical and cognitive maturity.
     Given that the 2011 Dutch study’s main goal was to evaluate the novel use of puberty blockers
 for gender dysphoria in a prospective cohort study (de Vries et al., 2011), the study should have
 enrolled, and reported the outcomes of, all of the intent to treat cases based on the date of
 eligibility to start puberty suppression—not cross-sex hormones.
     It is notable that the only attempt to replicate the 2011 Dutch study results with more than
 a handful of cases took place in the UK but failed (Carmichael et al., 2021), with the conclusion
 of “no changes in psychological function” (p. 1). We suspect the key reason for this failure was
 the fact that the UK researchers truly prospectively selected “sequentially eligible” cases for treat-
 ment (Carmichael et al., 2021, p. 4) and as a result, ended with a diverse range of outcomes,
 including worsening of problems among female subjects during puberty blockade (Biggs, 2020).
 In contrast, the Dutch retrospective case selection methodology (misunderstood as prospective)
 inadvertently resulted in skewing the sample toward the best-case-scenario puberty-blocked cases.
 In our view, such case selection methodology invalidates the 2011 study conclusions of
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 psychological benefits of puberty suppression—or, as research methodologists would say, puts
 this finding at a “critical risk of bias.”

 de Vries et al, 2014 (post-surgery study). Skewing the sample toward the best-case scenario cases
 is even more apparent in the 2014 study, which reported on post-surgical outcomes and assessed
 the entire “gender-affirmative” treatment pathway (de Vries et al., 2014). The 70 participants
 who began the 2014 study, already biased toward more positive outcomes, shrank to 55. Fifteen
 subjects were dropped from the study and relabeled “nonparticipants.” This subset, however, was
 not random, but instead heavily skewed toward subjects who experienced serious problems,
 including 3 who developed severe diabetes and obesity and 1 death following surgical complications.
 There is also considerable uncertainty about the outcomes of the 5 of 70 subjects (refusal, failure
 to return questionnaire, and dropping out of care) who, after several years of close contact with
 the research team, were unwilling to engage further:
    Nonparticipation (n = 15, 11 transwomen and 4 transmen) was attributable to not being 1 year postsurgical
    yet (n = 6), refusal (n = 2), failure to return questionnaires (n = 2), being medically not eligible (e.g., uncon-
    trolled diabetes, morbid obesity) for surgery (n = 3), dropping out of care (n =1), and 1 transfemale died after
    her vaginoplasty owing to a postsurgical necrotizing fasciitis [emphasis added]. (de Vries et al., 2014, p. 697)

     In her response, de Vries repeated the assertion that because a statistical comparison of the
 15 “nonparticipants” to the 55 “participants” revealed no significant difference in their pretreat-
 ment baseline characteristics, “the results of the 2014 study can be generalized with substantial
 trust to the complete group of 70” (de Vries, 2022, pp. 4–5). We strongly disagree. The “par-
 ticipant” and “nonparticipant” cohorts are demonstrably different: while 100% of the 55 “par-
 ticipants” had successful gender reassignment according to the study reporting, at least 27% of
 the “nonparticipant” group (4/15: 1 death and 3 cases of diabetes) did not. Not only is a statistical
 analysis of such small subgroups massively underpowered to detect differences, no statistical
 analysis of pretreatment data suggesting “similarity” can negate the reality of the markedly dif-
 ferent post-treatment outcomes in two groups. Nor is it clear why the research team made the
 unusual decision to stop the study early, before the remaining 6 participants had a chance to
 complete the 1-year post-surgical follow-up.

 A note on the “missing Dutch study” on the effect of cross-sex hormones. The second and final
 Dutch study (de Vries et al., 2014) combined the cross-sex hormone and post-surgical treatment
 results into a single set of outcomes. This conflation may have made some sense at the time, as
 all the hormonally-treated patients were required to undergo surgery (removal of breasts, ovaries,
 uterus, penis, testes, and construction of a neovagina) by the Dutch protocol at the time. When
 surgery is not required, only 25–35% of transgender-identified adults appear to seek “gender-
 affirming” surgical procedures (Nolan et al., 2019). According to recently published data, this number
 is even smaller for youth: for every teen treated surgically, there are 15 treated only with cross-sex
 hormones (Respaut & Terhune, 2022). The inability of the Dutch research to elucidate the outcomes
 of cross-sex hormone treatments (separate from surgery) has been noted by NICE, which appropriately
 excluded the 2014 Dutch study from its systematic review of evidence (NICE, 2020b).
     It is unknown whether the 4.3% of the sample (n = 3) that experienced obesity and diabetes
 sometime before the surgery was a result of the hormonal treatment; this rate appears to be
 double the expected rate for pediatric populations in the Netherlands at the time (Rotteveel
 et al., 2007; Schönbeck et al., 2011). Nor is it known if the cross-sex hormones contributed to
 the one subject who discontinued treatment due to other medical or psychological problems.
 Other research suggest that testosterone may actually increase dysphoria in female gender-dysphoric
 individuals (Olson-Kennedy, Warus, et al., 2018).

 2. Bias in measurement of outcomes: The finding of “resolution of gender dysphoria” is invalid
 The linchpin result of the Dutch studies is the reported resolution of gender dysphoria, as mea-
 sured by the Utrecht Gender Dysphoria Scale (UGDS) (Steensma, Kreukels, et al., 2013). de
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  Vries agreed with us on this point: “the main finding remains the resolution of gender dysphoria”
  (de Vries, 2022, p. 3). According to the final Dutch study, the UGDS gender dysphoria scores
  plummeted, from a near-maximum score of 54 (maximum of 60) at baseline, to the near-minimum
  score of 16 (minimum of 12) after the final surgery (de Vries et al., 2014).
     Rather than a true “resolution” of gender dysphoria, however, this spectacular drop was an
  artifact of switching the scale from “female” to “male” versions (and vice versa) before and after
  treatment, prompting a problematic reversal in the scoring. We argued that this fact alone
  invalidates the study’s main conclusion of the resolution of gender dysphoria (Levine et al.,
  2022a). While de Vries conceded the use of the UGDS scale post-treatment was “not ideal”
  because “the UGDS was not…designed to be used after treatment,” she asserted that it “does
  not imply that UGDS ‘falsely’ measured the improvement in GD [gender dysphoria]” (de Vries,
  2022, p. 4). We think it is vitally important for the scientific community to recognize that the
  UGDS scale use was not merely “not ideal”—but that it entirely invalidated the Dutch study’s
  main finding.
     The following hypothetical scenario clearly demonstrates the problem. A severely gender
  dysphoric, cross-sex identified female patient is asked to answer two of the UGDS questions:
  “Every time someone treats me like a girl I feel hurt” and “Every time someone treats me like
  a boy I feel hurt” (Items 2 on the “female” and the “male” versions of the UGDS scale, respec-
  tively). It is likely that the patient would strongly agree with the first statement, and strongly
  disagree with the second. The first answer would lead to the score of “5” on the UGDS gender
  dysphoria scale, indicating the highest possible level of gender dysphoria. The second answer—
  which is effectively the same answer—would result in the score of “1” indicating the lowest
  possible gender dysphoria. This is because unlike the first question, which belongs to the “female”
  battery of questions, the second question belongs to the “male” battery of questions and effec-
  tively assumes the subject to be male—hence, the lack of distress of being associated with
  “maleness” receives the minimum “gender dysphoria” score.
     If we now consider that only the “female” scale was used for gender dysphoric females at
  baseline but was then switched to the “male” scale after the final surgery (and vice-versa for
  male subjects), it becomes clear that the remarkable drop in “gender dysphoria” the UGDS scale
  registered after surgery entirely results from switching the scale. The same gender dysphoric
  individual, effectively answering the same question (albeit linguistically inverted), in the same
  way results in either the maximum or the minimum “gender dysphoria” score—depending on
  which sexed version of the scale was used. We reproduced both the “male” and the “female”
  versions of the UGDS scale in Table 1 so that others can easily observe how switching the scale
  “sex” version consistently leads to a “drop” of the gender dysphoria score, regardless of any
  treatment effect.
     When defending the choice to reverse the UGDS scale (de Vries, 2022), de Vries pointed
  out—and we agree—that it would make no sense to ask postoperative natal males to answer a
  question such as “I dislike having erections” (Table 1, UGDS-M, item 11), since they no longer
  have penises. We empathize with the Dutch researchers’ plight, as they found themselves without
  a valid tool to measure the construct of “gender dysphoria” after treatment. It is equally non-
  sensical, however, to ask natal males to answer questions such as, “I hate menstruating because
  it makes me feel like a girl” (Table 1, UGDS-F, item 10)—and it makes even less sense to report
  “resolution of gender dysphoria” because they don’t “hate menstruating.”
     In her response, de Vries pointed to the validation research of the UGDS dysphoria scale
  (de Vries, 2022; Steensma, Kreukels, et al., 2013). To the best of our knowledge, this work has
  never appeared in a peer-reviewed publication. In our opinion, this UGDS validation research
  missed a key opportunity to identify the threat to validity of using the UGDS scale in post-gender
  reassignment context, which should have become apparent to the Dutch research team by 2013
  when the validation paper was published. The greater community of international gender clini-
  cians relying on the Dutch pioneering experience was not alerted to the need to find another
  instrument that can provide a valid pre-post “gender dysphoria” measure. Instead, the validation
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  Table 1. Utrecht Gender Dysphoria Scale, Adolescent Version (de Vries, Cohen-Kettenis, & Delemarre-van de Waal, 2006).
  Response categories are agree completely, agree somewhat, neutral, disagree somewhat, disagree completely.
  UGDS-F (female)
  Response categories are: agree completely, agree                                         UGDS-M (male)
  somewhat, neutral, disagree somewhat, disagree                  Response categories are: agree completely, agree somewhat,
  completely. Items 1, 2, 4–6 and 10–12 are scored from 5          neutral, disagree somewhat, disagree completely. Items are
  to 1; items 3 and 7–9 are scored from 1 to 5.                                       all scored from 5 to 1.
  1. I prefer to behave like a boy.                               1. My life would be meaningless if I would have to live as a
                                                                      boy.
  2. Every time someone treats me like a girl I feel hurt.        2. Every time someone treats me like a boy I feel hurt.
  3. I love to live as a girl.                                    3. I feel unhappy if someone calls me a boy.
  4. I continuously want to be treated like a boy.                4. I feel unhappy because I have a male body.
  5. A boy’s life is more attractive for me than a girl’s life.   5. The idea that I will always be a boy gives me a sinking
                                                                      feeling.
  6. I feel unhappy because I have to behave like a girl.         6. I hate myself because I’m a boy.
  7. Living as a girl is something positive for me.               7. I feel uncomfortable behaving like a boy, always and
                                                                      everywhere.
  8. I enjoy seeing my naked body in the mirror.                  8. Only as a girl my life would be worth living.
  9. I like to behave sexually as a girl.                         9. I dislike urinating in a standing position.
  10. I hate menstruating because it makes me feel like a         10. I am dissatisfied with my beard growth because it
      girl.                                                           makes me look like a boy.
  11. I hate having breasts.                                      11. I dislike having erections.
  12. I wish I had been born as a boy.                            12. It would be better not to live than to live as a boy.


  research buttressed the problematic practice of using UGDS to measure the level of gender
  dysphoria after gender reassignment by stating: “From follow-up studies it was already known
  that gender dysphoria, as measured by the UGDS, disappeared post gender reassignment. These
  qualities make the instrument useful for clinical and research purposes” (Steensma, Kreukels,
  et al., 2013, p. 56). This statement is misleading, as the finding of the “disappearance” of gender
  dysphoria post-gender reassignment in the past “follow-up” research came from studies that also
  switched the sexed scale versions post-treatment, as Dr. de Vries pointed out in her response
  to us (de Vries, 2022).
     Thus, in a spectacular display of circular reasoning, the scale validation research claimed that
  the follow-up research endorsed the use of the inverted UGDS scale version post gender reas-
  signment, while the follow-up research defended this unusual practice by pointing to the vali-
  dation research. de Vries doubled down on this circular reasoning in her response to our critique
  (de Vries, 2022):
     Levine et al. (2022) questions whether the improvement in gender dysphoria does then not stem from this
     switching, and not from the treatment? However, this seems turning the matter around. What the measure
     shows, the disappearance or resolution of gender dysphoria, is what the gender affirming treatment is
     aimed to resolve. (pp. 3–4)

     At least three research groups noted the critical threat to the validity of the finding of “res-
  olution of gender dysphoria” due to the switching of the scale (Biggs, 2022; McGuire et al., 2020;
  van de Grift et al., 2017). McGuire et al. (2020) explicitly stated, “Because the original UGDS is
  composed of two scales, it is impossible to determine if this is a real difference in gender dys-
  phoria between groups or if this is an artifact of measurement error (p. 195).

  The likely meaning of the “plummeting” gender dysphoria scores. What, if anything, did the
  “plummeting” gender dysphoria scores post scale-flipping signal, if not the “disappearance of
  gender dysphoria” claimed by the Dutch researchers? We posit that the UGDS scale can only
  measure the construct for which it was originally designed and validated to measure—the level
  of incongruence between natal sex and gender identity leading to the provision of the DSM
  diagnosis (Cohen-Kettenis & van Goozen, 1997; Iliadis et al., 2020; Steensma, Kreukels, et al.,
  2013). This is true whether the scale is used before or after treatment, and whether the “treatment”
  in question is “gender-affirmation” with hormones and surgeries, psychotherapy, or mere “watchful
  waiting,” with the scale administered at various time points.
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      The fact that after gender reassignment, the UGDS scores were low on the opposite-sex scale
  indicates that the subjects would have scored high on the natal sex scale, which corresponds to
  a persistence in transgender identity. This is the only plausible interpretation of the “plummeting”
  UGDS scores that survives in the context of the scale questions and the linguistic and numerical
  gymnastics the scale underwent in the post-gender-reassignment context. The finding of per-
  sistence of transgender identity is not unexpected, especially since the Dutch researchers selected
  subjects with lifelong extreme cross-sex identification and follow-up was only 1.5 years post-surgery.
  What it does not mean is that the feeling of “incongruence” resolved. This point is underscored
  by the long-term follow-up data on male-to-female Dutch transitioners, presented at the WPATH
  2022 Symposium by Dr. van der Meulen (Steensma et al., 2022). Nearly a quarter of the par-
  ticipants have felt that their bodies were still too masculine, and over half have experienced
  shame for the “operated vagina” and fearful their partner will find out their post-surgical sta-
  tus—despite registering low “gender dysphoria” UGDS scores (Steensma et al., 2022).


  3. Bias from confounding: Psychotherapy was comingled with medical interventions
  Although the Dutch research is frequently commended for having demonstrated “psychological
  improvements,” an examination of the outcomes reveals that standard measures of psychological
  functioning such as anxiety, depression, anger, and global function showed very little clinically sig-
  nificant change after treatment (Levine et al., 2022a). de Vries acknowledged that a number of
  psychological measures showed no meaningful change, but insisted that the “more robust” measures,
  such as Child Behavior Check List (CBCL) and Youth Self Report (YSR), did show clinically relevant
  changes (de Vries, 2022, p. 3). She also noted that post-intervention, the sample of gender dysphoric
  youth in the Dutch research functioned at a similarly high level as their non-dysphoric peers, which
  was also an indicator of success. We have three observations about this response.
     First, the impressive drop in the percentage of cases in the “clinical” range for CBCL and
  YSR (de Vries et al., 2014) was only apparent after dichotomizing these scales into the “clinical”
  (problematic) versus “non-clinical” ranges. In comparison, the sample’s average post-intervention
  score changes on these scales were much more modest. For example, while the 2014 Dutch
  study points out that the “percent in the clinical range dropped from 30% to 7% on the YSR/
  ASR,” which looks like an impressive reduction, the average t-scores dropped from 54.72 before
  treatment, to 48.53 after surgery (de Vries et al., 2014, p. 702). Both before and after t-scores
  were 60—typically interpreted as having no clinically significant symptoms (Achenbach & Rescorla,
  2001). This suggests the reported improvements in CBCL and YSR came from relatively small
  score changes, which are of limited clinical significance, even if in the process the clinical
  threshold is crossed for some cases.
     Second, while de Vries points to the post-treatment similarity in function of the gender-dysphoric
  group to the general population as evidence of treatment success, it is not known how different
  the groups were from the general population pretreatment. According to earlier research by
  Cohen-Kettenis and van Goozen (1997), which presumably utilized similar selection criteria,
  “when both pre- and posttest group means were compared with Dutch normative data, all scores
  turned out to be within the average range [emphasis added]” (p. 269). Smith et al. (2001) confirm
  this and explicitly state that both pretreatment and post-treatment, the group of gender dysphoric
  youth selected for the interventions were “normal functioning” as compared to their age peers
  in the Netherlands (Smith et al., 2001, p. 477). If the sample used in the two Dutch studies,
  which was recruited several years later but used the same careful case selection criteria, bears
  resemblance to the sample described by this earlier Dutch research, then the reported post-treatment
  similarities in psychological function between the “treated” group and the general population of
  peers should not be attributed to gender reassignment.
     Third, and perhaps most relevant to this discussion, is the question of whether any of the
  reported changes in post-treatment psychological function scores, clinically significant or not,
  can be reasonably attributed to gender reassignment—or if these changes were influenced by
  confounding factors not accounted for in the research design. As noted by the authors of the
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  CBCL and YSR scales that de Vries says she favors, “improvement in scores from before to after
  services does not prove that the services were responsible for improvement. Other explanations
  are possible, such as (a) children’s problems tend to decrease as they get older; (b) the people
  providing the data may report improvements because they believe that the services helped, and
  (c) the test-retest attenuation effect (a general tendency for people to report fewer problems at
  a second assessment)” (Achenbach & Rescorla, 2001, p. 183).
     In addition to the general sources of confounding in uncontrolled studies relying on “before
  and after” measures, a vital source of confounding in the Dutch studies has been hiding in plain
  sight: All the subjects received psychotherapy at the same time they were undergoing gender
  reassignment. This comingling of interventions makes it impossible to determine which of the
  interventions “worked.”

  Psychotherapy was a key element in the Dutch protocol. Contrary to the now-common but
  erroneous assertion by the U.S. gender medicine establishment that psychotherapy for gender
  dysphoria is akin to “conversion” and should be avoided or even banned (Cantor, 2020), the
  Dutch studies reveal that psychotherapy was a key element of the protocol. According to the
  Dutch protocol, “[i]n cases involving confusion about gender feelings, psychotherapy and peer
  support can be helpful in resolving the confusion and coming to self-acceptance [emphasis added]”
  (de Vries, Cohen-Kettenis & Delemarre-van de Waal, 2006, p. 87). Not only was psychotherapy
  thought to be beneficial, but apparently it was a core part of the intervention: “…the adolescents
  were all regularly seen by one of the clinic’s psychologists or psychiatrists. Psychological or social
  problems could thus be timely addressed” (de Vries et al., 2011, p. 2281). The researchers
  acknowledge that psychotherapy “…may have contributed to the psychological well-being of
  these gender dysphoric adolescents” (de Vries et al., 2011, p. 2281).
     A discussion of the utility of psychotherapy to ameliorate gender dysphoria and related psy-
  chological distress is outside the scope of this article, other than to point out that the results
  of at least two studies suggest that psychological interventions are associated with improvements
  in two of the outcome domains—gender dysphoria (van de Grift et al., 2017) and global function
  (Costa et al., 2015)—absent any medical interventions.


  B. Incompleteness of evidence regarding risks
  Failure to consider the physical health risks of “gender-affirming” endocrine and surgical interventions
  is another methodological weakness of the Dutch studies. This omission is surprising since the Dutch
  team hypothesized that hormonal interventions might adversely impact bone and brain development
  several years before their seminal studies commenced (Delemarre-van de Waal & Cohen-Kettenis,
  2006, p. 134). As discussed earlier, the Dutch studies did, however, report on the cases that were
  reclassified from “participants” to “non-participants,” and listed the reasons for the nonparticipation,
  which revealed a possible 6–7% rate of associated adverse events.
      Several studies since have confirmed likely adverse health effects of hormonal interventions,
  although their long-term impact on future health is not yet known. Research suggests that youth
  treated with puberty blockers develop problems with bone density accrual (Biggs, 2021; Nokoff
  et al., 2022) and that bone density may be impaired even after treatment with cross-sex hormones
  is initiated (Klink et al., 2015). Other research suggests heightened insulin resistance (Nokoff
  et al., 2021), elevated blood pressure, elevated triglycerides, and impaired liver function
  (Olson-Kennedy, Okonta, et al., 2018). Cross-sex hormone administration places adolescents in
  the medical category of early life indicators of future cardiovascular disease (Jacobs et al., 2022).
      These adverse changes, already evident after a relatively short period of hormonal interven-
  tions, do not bode well for long-term health, since “gender-affirming” hormones are prescribed
  with the presumption of ongoing, lifelong treatment essential for maintaining a masculinized or
  feminized appearance. It is likely that other medical risks will emerge in the future. Patients
  and their families cannot make informed decisions about a treatment when the physical health
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  risks are assumed to be minimal and not reported, and only the potential psychological benefits
  are considered.

  C. Poor generalizability/applicability to currently presenting cases
  Given the dramatic change in the epidemiology of youth gender dysphoria which occurred after
  the studies were published (Levine et al., 2022a), the question of the applicability of the Dutch
  research to the current clinical dilemmas is one of the most important questions to interrogate
  in the field of pediatric gender medicine today.
     Generalizability/applicability questions whether “available research evidence can be directly
  used to answer the health and healthcare question at hand” (Schünemann et al., 2022). We
  asserted and continue to assert that the Dutch studies are not applicable/generalizable to most
  gender dysphoric youth presenting today. This is evidenced by two facts: (1) the most common
  profile of youth seeking gender transition today is an adolescent with postpubertal emergence
  of a transgender identity and significant uncontrolled mental health comorbidities; (2) the Dutch
  researchers explicitly disqualified such patients from their studies because of their concern that
  the risks of early gender transition might outweigh the benefits.


  1. Most of today’s adolescents have postpubertal onset of trans identity and comorbid
  mental illness
  Until about a decade ago, most patients seen by gender clinics were very young boys who wished
  to be girls and most of these children subsequently lost their cross-sex identification before
  reaching adulthood (Hembree et al., 2017; Ristori & Steensma, 2016; Singh et al., 2021). Today,
  the majority are female adolescents (de Graaf et al., 2018; Kaltiala-Heino et al., 2018; Zhang
  et al., 2021) with previously gender-normative childhoods whose trans identity emerged around
  or after puberty (Hutchinson et al., 2020; Zucker, 2019). Many suffer from significant preexisting
  mental illness such as depression and anxiety or neurocognitive challenges such as autism spec-
  trum disorder (ASD) or attention deficit hyperactivity disorder (ADHD) (Becerra-Culqui et al.,
  2018; de Graaf et al., 2021; Kaltiala-Heino et al., 2015; Kozlowska et al., 2021; Strang et al., 2018;
  Thrower et al., 2020).
     The presentation of adolescent-onset gender dysphoria is not entirely new—what’s new is its
  scale. As with many trends, the change occurred “gradually, then suddenly.” While there was
  evidence of it in the mid-2000s, around 2014–2015 the presentation of pediatric gender dysphoria
  in the Western world sharply shifted, from childhood-onset that skewed toward males, to
  adolescent-onset with a preponderance of females with mental health problems (Aitken et al.,
  2015; de Graaf et al., 2018). The Dutch researchers began their experiments with pediatric gender
  transition well before this demographic shift began to dominate clinical presentations of youth
  gender dysphoria.
     Finland’s national pediatric gender program was among the first to sound the alarm regarding
  the changing epidemiology of gender dysphoria presentation in youth. In 2015, they began
  observing that the youth presenting for treatment were primarily females who “do not fit the
  commonly accepted image of a gender dysphoric minor” (Kaltiala-Heino et al., 2015). The Finnish
  researchers saw a new pattern of “severe psychopathology preceding onset of gender dysphoria,”
  with 75% already in treatment for other psychiatric issues when their gender dysphoria emerged.
  By 2019, the Finnish gender program was in full-alarm mode: “Research on adolescent onset
  gender dysphoria is scarce, and optimal treatment options have not been established… The
  reasons for the sudden increase in treatment-seeking due to adolescent onset gender dysphoria/
  transgender identification are not known” (Kaltiala-Heino & Lindberg, 2019, p. 62). This changing
  epidemiology was noted by other Nordic countries as well (Kaltiala, Bergman, et al., 2020).
     The novel presentation of youth gender dysphoria was also reported by the largest pediatric
  gender clinic in the world at the time, the UK’s GIDS/Tavistock (de Graaf et al., 2018). The
  now-famous graph of the GIDS data shows a trickle of gender dysphoric youth in years past
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  turning into a tidal wave by 2015, with a significant overrepresentation of teen girls. Between
  2009 and 2016, the number of gender dysphoric females increased more than 70 times (de Graaf
  et al., 2018). The UK researchers concluded:
    The steep increase in birth-assigned females seeking help from gender services across the age range highlights
    an emerging phenomenon. It is important to follow birth-assigned females’ trajectories, to better understand
    the changing clinical presentations in gender-diverse children and adolescents and to monitor the influence
    of social and cultural factors that impact on their psychological well-being. (de Graaf et al., 2018, p. 4)

      The number of gender dysphoric youth referrals in the UK doubled again between 2020–2021
  and 2021–2022 (NHS, 2022b).
      While U.S. population-level data are hard to come by due to the country’s decentralized and
  highly fragmented health care system, recent research shows that the number of gender dysphoric
  teens has also sharply risen in recent years, with a nearly 70% increase just between 2020 and
  2021 (Respaut & Terhune, 2022). Combined with U.S. medical chart data samples, which show
  that the composition of the population changed “from predominantly transfeminine to…pre-
  dominantly transmasculine in children and adolescents” (Zhang et al., 2021, p. 390) and that
  over 70% of gender dysphoric youth had been diagnosed with ASD, ADHD and other mental
  health problems before their diagnosis of gender dysphoria (Becerra-Culqui et al., 2018), it is
  apparent that the U.S. has not been immune to this remarkable epidemiologic trend that has
  engulfed youth in the Western world.
      This now-ubiquitous presentation of gender dysphoria in troubled adolescents with previously
  gender-normative childhoods lacks a DSM-5-TR descriptor (American Psychiatric Association
  [APA], 2022), leaving clinicians to refer to it by many names, including adolescent-onset gender
  dysphoria; postpuberty adolescent-onset transgender history; and rapid-onset gender dysphoria (ROGD).
  The latter term was introduced by a U.S. researcher (Littman, 2018). Despite the controversy that
  Littman’s hypotheses generated in the gender medicine establishment (Marchiano, 2018), her
  research withstood a second round of rigorous peer review (Littman, 2020). Subsequent detran-
  sitioner research lent further support to the ROGD hypothesis, with patients themselves reporting
  “that their gender dysphoria began during or after puberty and that mental health issues, trauma,
  peers, social media, online communities, and difficulty accepting themselves as lesbian, gay, or
  bisexual were related to their gender dysphoria and desire to transition” (Littman, 2021, p. 15).
  Even WPATH, which in 2018 strongly objected to Littman’s research (WPATH, 2018), conceded
  in its 2022 “Standards of Care 8” that while no one has attempted to replicate Littman’s research,
  it is apparent that “[f]or a select subgroup of young people, susceptibility to social influence
  impacting gender may be an important differential to consider” (Coleman et al., 2022, p. S45).
      The novel phenomenon of high numbers of young people declaring a transgender identity
  for the first time in adolescence, often in the context of preexisting mental illness and/or trauma
  and social difficulties, has been described by several other mental health clinicians (Hutchinson
  et al., 2020; Schwartz, 2021; Zucker 2019). The only exception to the trend of mentally struggling
  adolescents presenting with gender dysphoria is the Amsterdam gender clinic itself, which has
  also seen an influx of teens and the preponderance of girls, but apparently without the mental
  health problems (Arnoldussen et al., 2020). Nonetheless, writing for the American journal
  Pediatrics, de Vries recognized the emergence of this new clinical phenomenon, noting that
  “gender identity development is diverse, and a new developmental pathway is proposed involving
  youth with postpuberty adolescent-onset transgender histories” (de Vries, 2020, p. 1) and noting
  that “some case histories illustrate the complexities that may be associated with later-presenting
  transgender adolescents and describe that some eventually detransition (de Vries, 2020, p. 2).


  2. The Dutch studies disqualified cases most commonly presenting today: Adolescents with
  recent-onset gender dysphoria, nonbinary identities, or mental illness
  From the outset in the late 1990s when the Dutch researchers first began to report on the results
  of youth gender transitions, they made it clear that their focus was exclusively on youth with
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  complete cross-sex identification “from toddlerhood onwards” (Cohen-Kettenis & van Goozen,
  1998, p. 1). Furthermore, there was a strict requirement of psychological stability:
       First, they must have shown a lifelong extreme and complete crossgender identity/role [emphasis added].
       Around puberty these feelings and behaviors must have become more rather than less pronounced. Second,
       they must be psychologically stable [emphasis added] (with the exception of depressed feelings, which often
       are a consequence of their living in the unwanted gender role) and function socially without problems
       (e.g., have a supportive family, do well at school). (Cohen-Kettenis & van Goozen, 1997, p. 265)

     Of note, youth with non-binary identities, common today (Green et al., 2022), were ineligible
  for medical interventions according to the Dutch protocol, and instead needed psychotherapy:
  “adolescents… whose wish for sex reassignment seems to originate from factors other than a
  genuine and complete cross-gender identity are served best by psychological interventions [emphasis
  added] (de Vries et al., 2006, pp. 87–88).
     Thus, the Dutch protocol explicitly excluded the characteristics of adolescents presenting to
  clinics in recent years—those whose trans-identities emerged around puberty; non-binary pre-
  sentations without the wish for a complete cross-sex reassignment; or cases of gender dysphoria
  accompanied by significant uncontrolled mental illness. The high level of psychological func-
  tioning of the Dutch cohort at baseline serves as evidence that these selection criteria were
  indeed followed at the time (de Vries et al., 2011). The fact that “gender-affirming” interventions
  are now provided to the very segment that was explicitly excluded from the eligibility in the
  foundational studies is alarming.

  D. Failure to consider alternatives (lack of research equipoise)
  The Dutch researchers began their research into treatments of gender-dysphoric adolescents with
  the foregone conclusion that children who had life-long gender dysphoria and who continue to
  be cross-sex identified as adolescents would inevitably grow up to be transgender-identified
  adults. This assumption, based on “expert observations” from a handful of cases (O’Malley &
  Ayad, 2022; Cohen-Kettenis & van Goozen, 1997), has never been tested in rigorous comparative
  research. Further, the research team assumed that the only feasible treatment for these adoles-
  cents is early gender transition, and that psychotherapy alone is ineffective—also without testing
  this assumption through research. This violates the key requirement of equipoise in research—the
  principle that clinical investigators must approach research with genuine uncertainty regarding
  diagnostic, prevention, and treatment options—and allocate individuals to interventions in a
  manner that allows for generation of new knowledge (Freedman, 1987; London, 2017).
     In fact, as de Vries’ response to us emphasizes, the Dutch researchers continue to hold such
  firm belief into the beneficial nature of gender reassignment for youth, that they are far more
  concerned with the risk of “nontreatment” with hormones and surgery than they are with the
  possibility that the youth undergoing transition may not have needed such drastic interventions
  (de Vries, 2022, p. 3). However, some of the earlier research on the “non-treated” gender-variant
  and gender dysphoric adolescents challenges the assumptions of the permanence of trans identity
  in teens.

  1. Non-treatment of “referred” adolescents with significant mental illness
  Because of the careful case selection, the Dutch protocol rejected some youth from eligibility
  for gender reassignment due to serious “psychological or environmental problems” (Smith et al.,
  2001, p. 473). According to the study that followed the trajectories of these youth, the majority
  no longer wished to undergo gender transition once they reached adulthood.
     Smith et al. (2001) reported that individuals rejected from gender reassignment in adolescence
  found noninvasive ways to deal with their gender dysphoria, and gender dysphoria significantly
  diminished. Upon follow-up 1–7 years later, only 20% of the rejected subjects (6/27) underwent
  gender reassignment as adults, while 80% refrained from it. Among those who remained med-
  ically untreated and participated in follow-up research, a remarkable 80% (11/14) “did not feel
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  any regrets about having refrained from SR [sex reassignment] or being rejected….” Only 7% (1
  of 14) expressed strong regret (Smith et al., 2001, p. 477).
     Data from the study by Smith et al. (2001) raise the possibility that the majority of those
  rejected from hormonal interventions not only were unharmed by waiting but benefited from
  “nontreatment” with gender reassignment in adolescence. Unlike the medically and surgically
  treated subjects, the “rejects” completed uninterrupted physical and psychological development,
  avoided sterility, maintained their sexual function, eliminated their risk of iatrogenic harm from
  surgery, and avoided the need for decades of dependence on cross-sex hormones. These cases
  also demonstrate that the assumption that “adolescents do not desist” was not true even at the
  time the Dutch team first introduced gender transitions of youth. It is even less true now, with
  research showing 10-30% rates of detransition among those who were trans-identified in ado-
  lescence and young adulthood (Boyd et al., 2022; Hall et al., 2021; Roberts et al., 2022). The
  long-term follow-up data on the Dutch adolescent transitioner cohort recently presented at the
  WPATH 2022 Symposim (Steensma et al., 2022) also suggest that the rate of cross-sex identi-
  fication was not as stable as originally expected, with a sizable percentage reporting one or more
  instances of identity changes after treatment completion, especially among the individuals on
  the autistic spectrum (Steensma et al., 2022).

  2. Non-treatment of “gender variant” youth in a community sample
  Another study, also from the Netherlands, that took place before the practice of pediatric gender
  transition became widespread (Steensma, van der Ende, et al., 2013), also sheds light on what
  happens when childhood and adolescent gender-variance remains medically untreated. This large
  prospective longitudinal study based on a community sample (n = 879) found that about 6% of
  children (n = 51) ages 7–8 in a community sample were identified as “gender variant.” At follow-up
  24 years later, when the subjects were on average in their early 30s, not a single individual from
  the previously “gender-variant” subgroup of 51 children sought to undergo gender reassignment,
  despite the availability of these services.
      There are three noteworthy observations in this study. First, the rate of “gender variance” of
  6% reported in the community sample is remarkably similar to the current rate of transgender
  identification in U.S. youth of 2–9% (Johns et al., 2019; Kidd et al. 2021). Second, the gender-variant
  children were roughly 8–15 times more likely to grow up to be gay, lesbian, or bisexual adults
  compared to gender-normative youth. Gender variance is a common precursor to future homo-
  sexuality (Korte et al., 2008) and in fact in the Dutch studies, 97% of youth were gay, lesbian,
  or bisexual relative to their natal sex (de Vries et al., 2011). Third, only one of the 879 individuals
  in the sample underwent a male-to-female gender reassignment as an adult—and the individual
  had not been deemed “gender-variant” as a child (Steensma, van der Ende, et al., 2013, p. 2729).
  This challenges the current focus on medical interventions at increasingly younger ages.
      The fact that none of the “gender variant” children in the sample sought gender reassignment
  as adults, when the study was published in 2013, merits scrutiny. These children would have
  been coming “of age” just a few years before the Dutch researchers conceived of the notion of
  juvenile transsexual and began to offer gender reassignment to adolescents. Thus, these children
  just missed the clinical shift in the Dutch practice—and perhaps not coincidentally, apparently
  all avoided the lifelong burden of living as a gender-reassigned individual.
      The title of de Vries’ commentary, Ensuring Care for Transgender Adolescents Who Need It
  (de Vries, 2022) prompts us to pose two questions. First, has the availability of the Dutch pro-
  tocol itself created the “need?” Second, absent clear criteria to separate a young person’s “wish”
  from a “need,” will research rigor be required to demonstrate that the benefits outweigh the risks?


  II. Newer research claiming benefits of youth gender transition is even more flawed
  de Vries acknowledged that the Dutch research suffers from some limitations but insisted that
  newer research has sufficiently addressed these problems. She criticized us for not including a
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  review of newer studies that “consistently demonstrate improved or stable psychological func-
  tioning, body image, or treatment satisfaction varying from three months to up to two years
  from the initiation of treatment” (de Vries, 2022, p. 5). We are familiar with the seven studies
  de Vries mentions—as well as a number of other recent studies. What these studies “consistently
  demonstrate” is the art of spin—a well-documented problem in biomedical research where
  researchers “distort the interpretation of results and mislead readers so that results are viewed
  in a more favorable light” (Chiu et al., 2017). Due to length concerns, we discuss only three
  examples— Carmichael et al. (2021), Costa et al. (2015), and Tordoff et al. (2022). Most of the
  current research on the purported benefits of “gender-affirming care” suffers from similar
  limitations.
     The UK study of puberty blockers by Carmichael et al. (2021), which attempted to replicate
  the Dutch puberty blocker study’s findings of psychological improvements (de Vries et al., 2011),
  failed to demonstrate psychological improvements, conceding that its results are “in contrast to
  the Dutch study” (Carmichael et al., 2021, p. 19). The study found problems in bone mass
  density accrual among puberty-blocked youth. These problematic findings take on a decisively
  positive spin in the study conclusions, which refocus the reader on the positive “overall patient
  experience of changes on GnRHa treatment”; dismiss bone density problems as merely “consistent
  with suppression of growth”; and camouflage the failure to replicate the psychological benefits
  of puberty suppression by simply stating, “we identified no changes in psychological function”
  (Carmichael et al., 2021, p. 2). de Vries aided in the positive interpretation of the results by
  recasting the lack of improvement in psychological function following puberty suppression, as
  a positive finding of “stable psychological function” (de Vries 2022, p. 5)—yet it has never been
  demonstrated that psychological function of gender dysphoric adolescents with high baseline
  mental health function, as was required by the study criteria, would be expected to deteriorate
  absent intervention.
      Spin also characterizes Costa et al. (2015), which compared psychosocial functioning of gender
  dysphoric youth who were puberty-suppressed to those who were delayed for medical treatment
  and received only psychotherapy. By the end of the 18-month study period, both groups ended
  up in the same psychosocial functional range using the Children’s Global Assessment Scale
  (CGAS): 61–70 (out of 100 points), corresponding to “[s]ome difficulty in a single area, but
  generally functioning pretty well” (Shaffer, 1983). This study can hardly be cited as evidence of
  the superiority of the medical approach and in fact points to the viability of providing nonin-
  vasive therapy as an alternative to puberty suppression. Yet, the authors focus their abstract on
  the fact that the puberty-blocked group had higher function after puberty suppression than
  before, ignoring the fact that both the puberty-suppressed and the psychologically-treated only
  groups improved and there was no statistically-significant difference betwen the two by the end
  of the study period (Biggs, 2019). Questions regarding the extent to which improvements in
  selfreported psychological measures could be due to the placebo effect of puberty blockers have
  been recently raised (Clayton, 2022).
      The spin of Tordoff et al. (2022) is dramatic. This study claimed that puberty blockers and
  “gender-affirming” hormones produced a 60% reduction in depression after only one year.
  However, this conclusion is in stark contrast to the raw data: at baseline, 59% of the yet-to-be
  treated patients had moderate to severe depression; by the end of the study at 12 months, 56%
  were still moderately to severely depressed, despite receiving hormone treatment (Supplementary
  material of e Table 3 Tordoff et al., 2022). This unchanged rate of depression became an “observed
  60% lower odds of depression” via a methodology that inferred the “improvement” in the treated
  cases from the reported “worsening” in the untreated cases. Indeed, the untreated cases in the
  study had depression rates of 83% by the end of the study period (n = 6), compared to 56% of
  the treated cases (n = 57), seemingly supporting the conclusion that treatment with hormones
  alleviates depression.
      However, by basing their conclusion about the relative success of the “treated” on the
  finding of lack of success among the “untreated” cases, the researchers failed to consider that
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  they lost an astounding 80% of their “untreated” cohort by the end of the study (28 of 35);
  in contrast, the “treated” cohort largely remained (84%) enrolled. The high dropout rate in
  “untreated” subjects makes intuitive sense: the study took place in a gender clinic setting, the
  primary purpose of which is provision of gender transition services. Youth whose distress
  was ameliorated without the use of hormones would have little reason to stay enrolled in the
  clinic and participate in the ongoing research. However, what this also suggests is that the
  highest functioning “untreated” youth dropped out of the study. Thus, the entire conclusion
  that because “untreated” cases faired so poorly on measures of depression, anxiety, or suicid-
  ality, it must be that hormones given to the “treated” cases “worked,” is invalid. There are
  other problems in the study, including the fact that the use of psychiatric medications was
  not accounted for in the analysis. The university was aware of the problems with this research
  but chose to remain silent because the study’s optimistic conclusions were so well received
  by national news media outlets (Rantz, 2022).
      These examples demonstrate why we do not share de Vries’ optimism that the newer studies
  conducted since the publication of the two seminal Dutch studies provide any additional con-
  fidence in, or support for, the practice of youth gender transitions. Most of the current research
  into the practice of pediatric transition continues in the context of gender clinic settings, which
  are actively providing gender transition to willing youth. Such low-quality observational research
  not only lacks the ability to control for the multiple sources of bias due to limitations in research
  design, but also is often led by clinicians with vested intellectual, professional, and financial
  conflicts of interest (Prasad, 2013).


  III. Suggestions for future research
  We were pleased to learn that de Vries has been awarded a substantial research grant to continue
  to study the effects of the Dutch protocol (Amsterdam UMC, 2022a). We welcome her decision
  to study the effects of the Dutch protocol on the novel cohort of youth whose trans identity
  only emerged in adolescence, as we agree that it is important to know “whether medical treat-
  ment is …useful for this group or whether there are too many risks… such as regret afterwards”
  (Amsterdam UMC, 2022b).
     However, we think the time has come to reexamine the entire 25 years of Dutch experience
  using rigorous methodologies, to answer the critical questions about the full range of risks and
  benefits that the use of the Dutch protocol. We offer five suggestions relating to both past and
  future research:


  1. Conduct comprehensive retrospective research
  There have been over 6600 referrals to the Amsterdam gender clinic alone between 2000 and
  2019 (Steensma et al., 2022), with likely additional referrals to the other Dutch gender clinics
  over the same time period, as well as new referrals since 2019. A retrospective chart review
  of these referred patients, supplemented by the data from the Dutch health and civil records
  registries Registers in The Netherlands (2022) could allow researchers to reexamine its
  quarter-century of experience of gender transition of youth and their outcomes in a way that
  is methodologically sound. The analysis should include outcomes of all patients diagnosed
  with gender dysphoria as children, adolescents, or young adults, rather than focusing only on
  those who chose to pursue medical interventions and explicitly agreed to participate in research.
  This retrospective review should seek to examine the outcomes of medical transition, psycho-
  therapy, and no intervention. The effects of each step of the Dutch protocol should be disag-
  gregated to gain a better understanding of the benefits and risks at each stage, and the results
  should be analyzed by natal sex and the age of gender dysphoria onset as validated by medical
  records.
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  2. Focus on comparative outcomes
  The importance of comparative research to determine optimal treatments has been known since
  the 1990s (Guyatt, 1993). Comparing “before” and “after” psychological outcomes tends to over-
  state benefits due to number of factors, including “regression to the mean” (Knapp, 2016). Gender
  dysphoric youth often seek help at the peak of their distress. That many such “extreme” situations
  tend to naturally revert to a milder state even without an intervention is a well-recognized
  clinical and statistical phenomenon. While randomization is still the gold standard to reliably
  estimate treatment effects, when it is not possible (as is the case with retrospective research),
  researchers should consider utilizing quasi-experimental research designs (Harris et al., 2006).
  Recent post-hoc analysis of the effects of “gender-affirming” surgery, which utilized propensity-score
  matching to construct comparator groups, is an example of such analysis (Bränström &
  Pachankis, 2020c).


  3. Track a full range of health outcomes utilizing objective measures whenever possible
  The current exclusive focus on psychological and sexual functioning and self-reports is insuffi-
  cient. Research should include a more objective evaluation of the effects of gender reassignment
  interventions on bone, brain, cardiovascular health, malignancies, and overall morbidity and
  all-cause mortality. As mentioned earlier, retrospective chart reviews of the referred patient
  cohorts, supplemented with relevant data from the Dutch health and civil records registries,
  should provide sufficient information to estimate the longer-term impact of hormonal and sur-
  gical interventions on morbidity and mortality, while also documenting the incidence of osteo-
  porosis, cardiovascular disease, and cancer, as well as rates of mental illness and suicidality/
  suicide.


  4. Pre-specify primary and secondary outcome measures and consistently track them
  The primary outcomes of pediatric gender reassignment have been a moving target. In 1997,
  the Dutch researchers stated that the decision to start gender transition had as its goal to improve
  the “psychological problems of untreated adolescents” (Delemarre-van de Waal & Cohen-Kettenis,
  2006, p. 132), since transitions undertaken in adulthood were already adequately relieving the
  feeling of gender incongruence itself. In her commentary, however, de Vries stated that psycho-
  logical function may not the “best indicator for the benefits of such treatment” and that “mea-
  sures that assess what makes life most worth living…” are most appropriate (de Vries, 2022, p.
  3). Yet in a recent interview, she stated that the best indicator of treatment benefits is “satisfaction
  with care” (O’Malley & Ayad, 2022, 54:36). Primary outcome measures that serve as the rationale
  for the intervention must be clearly stated, justified, and consistently tracked.
     If relief of “gender dysphoria” is still considered a primary outcome by the Dutch research
  team, a new measure of gender dysphoria that can be validated in both the pre- and the
  post-treatment settings is urgently needed, as the UGDS scale’s use post-treatment is invalid.
  The updated UGDS-GS scale (McGuire et al., 2020) currently favored by de Vries (de Vries,
  2022), appears to be a derivative of the earlier UGDS scale, and therefore may suffer from
  similar limitations when used in post-gender-reassignment settings.


  5. Focus on long-term outcomes
  Until recently, the long-term outcomes on the cohort of 70/55 cases have been an unanswered
  question. It was partially answered in a recent WPATH Symposium presentation by the Dutch
  team, comprised of presentations by Drs. de Rooy, Asseler, van der Meulen, van der Miesen,
  and Steensma (Steensma et al., 2022). As we look forward to seeing these preliminary findings
  elucidated in the upcoming peer-reviewed publications, we note several concerns.
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     First, it appears that the follow-up research combined the earlier-treated cohorts with the
  later-treated ones. We hope to see the outcomes of the 70/55 cases reported separately from
  other cases, so that the original cohort’s outcomes can be quantified. Second, only half of the
  treated cases engaged in follow-up research (Bazelon, 2022; Steensma et al., 2022). This can bias
  the results, as individuals who experience more difficulties with their gender transition are less
  likely to engage with the physicians who treated them (Vandenbussche, 2022). Much follow-up
  research that reports positive outcomes relies on self-reported data compromised by high dropout
  rates (D’Angelo, 2018). In contrast, research that utilizes medical records and objective outcome
  measures shows much less optimistic outcomes (Dhejne et al., 2011; Bränström & Pachankis,
  2020a, 2020b, 2020c). To mitigate the non-response bias, the Dutch research team should leverage
  chart data for all the referred patients, and report objective health outcomes for the entire cohort
  that was treated.
     Third, we are concerned by the apparent dismissal of reproductive regret, which affected more
  than a quarter of the patients according to the data presented by Asseler, as merely a problem
  of the past when sterilizing surgery was a requirement (Steensma et al., 2022). The current
  treatment protocol of blocking puberty at Tanner stage 2 followed by cross-sexhormones, endorsed
  by the Endocrine Society (Hembree et al., 2017) and WPATH (Coleman et al., 2022), will most
  likely lead to chemical sterility, just as the prior surgical protocol led to permanent
  surgically-induced sterility. There are currently no effective, established methods to preserve
  fertility of individuals whose gametes have not matured (Rosenthal, 2021).
     Fourth, the reported relationship difficulties reported by Asseler, with over 60% of individuals
  in their early to mid-30’s still single also deserve serious consideration. The apparent sexual
  difficulties reported for male-to-female transitioners by van der Meulen (around 70% have
  problems with libido, have pain during sex, or have problems with achieving orgasm), combined
  with reproductive challenges, may be contributing to this outcome. Fifth, the team’s preliminary
  optimistic conclusions that early puberty blockade did not worsen sexual function appears to
  be based on a problematic combining Tanner stages 2 and 3. The development of sexual organs
  and fertility is significantly more advanced in Tanner stage 3, compared to stage 2. Whether or
  not the high rate of sexual problems found in the transitioned population may be related to
  blocking puberty at Tanner stage 2 needs to be investigated.
     These newly reported data underscore an urgent need to determine whether the benefits of
  medical interventions outweigh the now much better understood risks.


  Concluding thoughts
  The question, “Just because we can, should we?” is not unique to pediatric gender medicine.
  What makes this arena exceptional is the radical, irreversible nature of “gender-affirming” medical
  and surgical interventions desired by the exponentially growing numbers of youth in the Western
  world. The recent changes announced by WPATH SOC 8—specifically the removal of minimum
  age limits for medical and surgical treatments, and the elimination of the “distress” requirement
  by switching from DSM-5-TR to ICD-11 diagnostic criteria (Coleman et al., 2022; Robles García
  & Ayuso-Mateos, 2019; World Health Organization, 2019)—takes the field further in a truly
  extraordinary direction whereby any desired body modification desired by a child or a young
  person becomes automatically “medically necessary.”
     Another unique aspect of the gender medicine field is that a number of clinicians tasked
  with caring for gender-distressed have taken on the role of political campaigners—and in doing
  so, have traded wisdom and nuance for blunt activism (Kuper et al., 2022; McNamara et al.,
  2022). Their insistence that today’s gender-dysphoric teens are tomorrow’s transgender adults, and
  that their future happiness and mere survival hinges on early access to gender reassignment, is
  demonstrably false. While still reported as “rare” by the gender medicine establishment (Coleman
  et al., 2022; McNamara et al., 2022), the rate of medical detransition is already 10%-30% just a
  few years following transition (Boyd et al., 2022; Hall et al., 2021; Roberts et al., 2022). These
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  numbers are likely to rise in the future as regret historically has taken over a decade to materi-
  alize (Dhejne et al., 2014). Not all of those who detransitioned will consider themselves harmed,
  but many will—and a number already have (Vandenbussche, 2022; Littman, 2021).
      When clinician-activists misuse the eminence of their institutions and medical societies to
  deny or obfuscate important facts about pediatric gender transition—that puberty blockers are
  prescribed to peri-pubertal children as young as 8–9; that mastectomies are commonly provided
  to teens; that the wave of detransition is rising and already far exceeds what’s been historically
  recorded; and that no other pediatric intervention of similarly drastic nature has ever been
  delivered at scale based such low quality of evidence (McNamara et al., 2022)—they may succeed
  in scoring a political or legal “victory” in the short-term, but they also contribute to the
  longer-term erosion of public trust in the medical profession. They also inadvertently contribute
  to medical harm.
      The scale of the potential harm can be fully appreciated if one considers that an astounding
  1 in 10–20 middle school, high school, and college students in the West currently claim a
  transgender identity (ACHA, 2022; Johns et al., 2019; Kidd et al. 2021). Adolescent mental health
  in general is at an all-time low (Centers for Disease Control and Prevention [CDC], 2022).
  Lesbian, gay and bisexual youth and those on the autism spectrum (Bradley, 2022) are at par-
  ticularly high risk of refracting their gender-non-conformity through the prism of transgender
  identity. Youth referrals for gender reassignment having risen already several thousand percent
  in the last decade, and nearly doubled between 2020/2021 and 2021/2022 (NHS, 2022b; Respaut
  & Terhune, 2022). If these young patients’ sense of urgency is confused with certainty about
  their future happiness, while a flawed evidence base is mistaken for proven safety and effective-
  ness of youth gender reassignment, harm at scale will ensue.
      As physicians are increasingly instructed to widely adopt “gender identity screening” of ado-
  lescents to “facilitate and increase…the delivery of gender-affirming” interventions (Lau et al.,
  2021, p. 1) and are misled about the (very low) quality of research, an analogy of the opioid
  epidemic powerfully emerges. The gender medicine field must reflect on the parallels between
  the pain as the “fifth vital sign,” the misuse of research (Porter & Jick, 1980; Zhang, 2017), the
  pressure to meet patient demands, and the role of powerful special interests during the height
  of the opioid epidemic—and the trends in pediatric gender medicine today.
      The field of gender medicine has a short time to self-correct before a growing number of
  authorities step in and impose guardrails to safeguard youth. Public health authorities in Finland,
  Sweden, and most recently England have already done just that, sharply deviating from the
  WPATH’s poorly evidenced recommendations in “SOC 7” (Dahlen et al., 2021), with no apparent
  intention to follow the updated “SOC 8” either (COHERE (Council for Choices in Health Care),
  2020; Socialstyrelsen [National Board of Health and Welfare], 2022; NHS, 2022a). NHS England’s
  decision to close GIDS/Tavistock—the world’s biggest pediatric gender clinic—and to place the
  care of gender-distressed youth in established clinical settings that “maintain a broad clinical
  perspective,” provide “strong links to mental health services,” and do not “exceptionalise gender
  identity issues,” (Cass, 2022; NHS, 2022b) is a vote of no-confidence in the WPATH-endorsed
  “gender-affirming” approach that dominates the “gender clinic” model of care.
      The American medical establishment appears to be taking a different approach. Rather than
  acknowledging the problems with the gender-affirmation model of care, there is an apparent effort
  underway to retrospectively redefine what “gender-affirmation” is. Originally defined as comprised
  of the provision of hormones and surgery to youth (Table 2, Rafferty, 2018), more recently gender
  affirmation has been positioned as merely “holistic care.” The American Academy of Pediatrics
  recently made a surprising and welcome statement that hormones and surgery are not the preferred
  treatment for gender dysphoric youth, and that in fact “for the vast majority of children, it recom-
  mends the opposite” (Szilagyi, 2022). Whether this statement will be followed by earnest efforts to
  restrict the provision of highly invasive interventions to exceptional situations and to endorse non-
  invasive psychosocial interventions as first line of treatment—instead of inappropriately conflating
  psychotherapy for gender dysphoria with “conversion”—remains to be seen.
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      The former era of eminence-based, expert-opinion-led medicine, under which the innovative
  clinical practice of pediatric gender transition proliferated, has been replaced by a new standard,
  evidence-based medicine, which demands rigor in the research that underpins population-level
  treatment recommendations (Sackett et al., 1996; Zimerman, 2013). Our analysis of the Dutch
  protocol has been written with three goals in mind. First, we wanted to definitively refute the
  claims that the foundational Dutch research represents “solid prospective research” that provides
  reliable evidence of net benefits of youth gender transition. In fact, it is much better described as
  case series—one of the lowest levels of evidence available (Dekkers et al., 2012, Mathes & Pieper,
  2017). Second, we aimed to demonstrate that the type of non-comparative, short-term research
  that the gender medicine establishment continues to pursue is incapable of generating reliable
  information. And third and most importantly, we wanted to remind the medical community that
  medicine is a double-edged sword capable of both much good and much harm. The burden
  of proof—demonstrating that a treatment does more good than harm—is on those promoting
  the intervention, not on those concerned about the harms. Until gender medicine commits to
  conducting high quality research capable of reliably demonstrating the preponderance of benefits
  over harms of these invasive interventions, we must be skeptical of the enthusiasm generated by
  headlines claiming that yet another “gender study” proved benefits of transitioning youth. This
  time-honored concern about risk/benefit ratio is a sobering reminder that the history of medicine
  is replete with examples of “cures” which turned out to far more harmful than the “disease.”


  Notes
   1. de Vries also served as a peer-reviewer of our original paper, Levine et al. (2022a).
   2. While not central to our argument, de Vries’ claim that the selection of the 111 participants from the
      original 196 was based only on the researchers’ interest in those age 16 and under is contradicted by the
      data. According to Table 1 in de Vries et al. (2011), there was at least one natal female participant who was
      18.6 years old when the puberty blockers were initiated. Although selection criteria of the 111 from 196
      may have introduced additional bias, we are most concerned with bias in the subsequent selection of 70
      from the 111.


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